Case 2:17-cv'-05056-PBT Document 1 Filed 11/09/17 Page 1 of 24
CW][L COV]ER SHE]ET

JS 44 (Rev. 06/17)

renee of the

purpose of initiating the civil docket sheet. (SEEINSTRUCTIONS 0NNEXTPAGE OF THIS FURM.)

The JS 44 civil cover sheet and the information contained herein neither ;<;`place nor sup€}ement the filing and service of pleadings or other papers as re uired by law, except as
e

provided by local rules of court. 'l`his form, approved by the Judicial Co nitcd States m September 1974, is required for the use of the lerk of Court for the

 

name m TIFFS

(b) County of Rcsidence of First Listed Plaintiff

Montgomeg[ Co.

(EXCEPTIN U.S. PMDVTFF CASES)

(C) Attorneys H"irm Name, Address, and §I'elephane Number)

Timothy Hough, Esq.

TWo Penn Center P|aza #1907
Phi|adelphia, PA 215-564-5200

Attomeys (IfKnown)

 

County of Residence of First Listed Defendant

NO'I'E: lNLAND CONDEMNATION
THE TRACT OF LAND INVOL

GB§M§%%££§M lnc.
Tri State Paving & Construction |nc.

De|aware Co.

(H\f U.S. PLADVTIFF CASES ONLIO

CASES, USE 'I'HE LOCATION OF
VED.

 

H. BA.SIS OF JURISDICTION (Place an "X" in One Box Only)

 

III. CITIZENSI~IIP OF PRINCIPAL PARTIES (Place an "X" in One Baxfor Plainnjf

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(For Diversity Ca.ves Only) and one Boxfor Defendant)
o 1 U.s_ Govemmem 121 3 Federal Quesrion PTF DEF PTF DEF
Plaintiff (U.S. Govemment Not a Party) Citizen of 'l“nis Scate CJ 1 EJ 1 Incorporatcd or Principal Placc El 4 D 4
of Business In This State
El 2 U.S. Govemment El 4 Divcrsity Citizen ofAnolhcr State Cl 2 Cl 2 Incorporated and Principal Place El 5 Cl 5
Defendant (Indicate Citizenship ofPar!ies in Ilem HI) ofBusiness In Anothcr State
Cilizcn or Subject of a \:| 3 Cl 3 ForeignNation Cl 6 Cl 6
Foreig Countrv
IV. NATUR]E OF SUIT (Place an "X" in One Box Only) Click here for: Nature of Suit Code Deseri tions.
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& Enforcemenl of`Judgment Slandcr Pcrsonal Injury D 820 Copyrights 13 430 Banks and Banking
l`_'| 151 Medicare Act El 330 Federal Employers’ Product Liabili£y El 830 Patent El 450 Commerce
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Cl 160 S!ockholders’ Suits El 355 Motor Vchiclc lJ 371 Truth inLending Act El 862 Black Lung (923) IJ 850 Sccurities/Commodilies/
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d 362 Pcrsonal Injury - Product Liability Cl 751 Family and Medical El 893 Environmental Matters
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VI. CAUSE OF ACTION

 

Cite the U.S. Civil Statute under which you are filing (Do nat cite jurisdiciianal statutes unless diversity):
28 U.S.C. Sections 1441, 1446 and 2679(d)

Brief description of cause:
Remove matter to EDPa

 

 

 

 

 

VII. REQUESTED IN EI cHEcK IF THIs Is A cLAss ACTION DEMAND $ CHECK Y'ES 0nly if demanded in complaint
COMPLAINT: UNDER RULE 23, F.R.cv.P. JURY DEMAND= cl Yes nNo
Vl]I. RELATED CASE(S) _ _
IF ANY (See mshuctzons). JUDGE DOCKET ER
DATE SIGN /€)F A'I'I` CORD
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FOR OFFICE USE ONLY /
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Case 2:17-cv-05056-PBT Document 1 Filed 11/09/17 Page 2 of 24
UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA _ DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

Address ofPlaintifft 1600 Church Road #1 308 ancote PA 19095
Ad(ll'€SS OfDCfClldanK 1403 TANGUY RD, GlCIl Mills PA 19342

Place of Accident, Incident or Transaction: 9925 Bustleton Ave. Philadclphia PA
(Use Reverse Side ForAdditz'onal Space)

 

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?

 

(Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.1(a)) YesL_-l No|:]
Does this case involve multidistrict litigation possibilities? YesE\ No L_-l
RELATED CASE, IFANY:
Case Number: 160\’3783 Judge T“°ker Date Terminated: remanded to State Court

 

 

Civil cases are deemed related when yes is answered to any of the following questions:

l. ls this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
Yesl:] Nol:|
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
action in this court?

Yesl:| No|:|
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
terminated action in this court? Yesl:l No\:l

4. ls this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
Yes\:l No[l

 

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A. Federal Question Cases: B. DiversityJurisdiction Cases:

1. Cl Indemnity Contract, Marine Contract, and All Other Contracts 1. Cl Insurance Contract and Other Contracts
2. 121 FELA l 2. 121 Airplane Personal Injury

3. 121 Jones Act-Personal Injury 3. 121 Assault, Defamation

4. 121 Antitrust 4. 13 Marine Personal Injury

5. 121 Patent 5. 121 Motor Vehicle Personal Injury

6. 121 Labor-Management Relations 6. 121 Other Personal Injury (Please specify)
7. 121 Civil Rights 7. 121 Products Liability

8. 121 Habeas Corpus 8. 121 Products Liability_ Asbestos

9 121 Securities Act(s) Cases 9. 21 All other Diversity Cases

10. 121 Social Security Review Cases (Please specify)

1 IY<\.:H other Federal Question Cases

lease specify)

 

ARBITRATION CERTIFICATION
(Check Appropria!e Catego);v)
I, , counsel of record do hereby certify:

121 Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
8150,000.00 exclusive of interest and costs;
1:1 Relief other than monetary damages is sought

DATE:

 

Attomey-at-Law Attorney l.D.#
NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court

except as noted above.

DATE, /1[€'[1'7 /%_ W\ 0201'73§
/ Attorney-at-Law Attorney I.D.#

CIV. 609 (5/2012)

 

 

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llN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVAN][A

CASE MANAGEIWENT TRACK DESIGNAT][ON FORM
Naomi Alston : CIVIL ACTION

V.

Guadioso Construction Inc. et al. NO_

In accordance With the Civil lustice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree With the plaintiff regarding said
designation, that defendant shall, With its first appearance submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to Which that defendant believes the case should be assigned

SELECT ONE OF TH]E FOLLO`WING CAS]E MANAGEMEN'][` TRACKS:
(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through § 2255 . . ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Beneiits. ( )

(c) Arbittation - Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos - Cases involving claims for personal injury or property damage nom
exposure to asbestos ( )

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

 

management cases.) ( )
(i) Standard Management - Cases that do not fall into any one of the other tracks. (\/)/
November 9, 2017 John T. Crutehlow, AUSA U 5 /°s
Date Attorney-at-law Attorney for
215_861_8522 john.crutchlow@usdoj.gov
_'11`_e_leph0ne FAX Number E-Mail Address

(Civ. 660) 10/02

 

Case 2:17-cv-05056-PBT Document 1 Filed 11/09/17 Page 4 of 24

llN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OlF PENNSYLVAN][A

NAOMI ALSTON
. Court of Common Pleas
Vs. ' : Philadelphia County
GAUDIOSO CONSTRUCTION, INC., : May Term, 2016
TRl-STATE PAVING & :
CONSTRUCTION, lNC., TRl-STATE : No. 1329
PAVING & CONSTRUCTION :

NU'll`ll<Cl'€ Olli‘ REMO`VAlL

Pursuant to 28 U.S.C. §§ 1441, 1442(a)(l), and l442(d)(l) the United States of America
hereby removes this action to the United States District Court -for the Eastem District of
Pennsylvania and represents the following in support thereof:

1. PlaintiffNaomi Alston filed a complaint in the Court of Common Pleas,
Philadelphia County, on or about May 10, 2016 (l\/lay Term, 2016 No. 1329) alleging that the
negligence of Gaudioso Construction, Inc. (“Gaudioso”) and/or Tri State Paving & Construction,
Inc. caused or contributed to a fall in which plaintiff alleges she was injured.

2. l\/ls. Alston alleges that she fell in a USPS parking lot and was at all relevant times a
United States Postal Service (“USPS”) employee

3. Defendant Gaudioso filed a “Joinder Complaint” against the United States on or
about June 30, 2016 alleging that the negligence of employees of the United States acting within
the scope of their employment caused or contributed to plaintiff’s alleged injuries.

4. The United States removed the action to the United States District Court for the
Eastern District of Pennsylvania on or about July 13, 2016 and moved to dismiss the United States
from the case. See Docket No. 16-3788 at document nos. 1, 18.

5. The District Court granted the United States’ motion to dismiss, dismissing the

United States from this action, and remanded the case back to state court on or about February 28,

 

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2017. See Docket No. 16-3788 at document no. 29.

6. On or about October 27, 2017, defendant Gaudioso Construction filed a motion in
the Pennsylvania Court of Common Pleas, Philadelphia County, to compel the discovery
deposition of USPS employee, Charmaine Ashby. See Exhibit 1.

7. Pursuant to 28 U.S.C.S. § 1442(a), the United States may remove a civil action
against or directed to “the United States or any officer (or any person acting under that officer) of
the United States or any agency thereof. ...” A "civil action” includes any proceeding “to the
extent that in such proceeding ajudicial order, including a subpoena for testimony or documents, is
sought or issued.” 28 U.S.C.S. § 1442(d)(1). Removal is appropriate, because Gaudioso’s motion
seeks an order compelling the deposition of USPS employee Ashby.

8. Federal regulations govern whether and/or under what circumstances a USPS
employee will be produced to provide testimony in matters in which the United States is not a party
when the testimony concerns information gained in that employee’s official capacity. See 39 CFR

265 . 12; see also United States ex rel. Touhy v. Ragan, 340 U.S. 462 (1951).
9. Gaudioso seeks Charmaine Ashby’s deposition concerning information gained while she
was on duty on the day of plaintiff Naomi Alston’s alleged fall.

10. Pursuant to 28 U.S.C. § 1446(d), a certified copy of this Notice is being filed with the

Prothonotary of the Couit of Coinmon Pleas, Philadelphia County, Pennsylvania

 

Case 2:17-cv-05056-PBT Document 1 Filed 11/09/17 Page 6 of 24

November 9, 2017

Respectfully submitted,

LoUis D. LAPPEN
United States Attorney

%Qdmy

/oHN T. cRUTCHLow
Assistant United States Attorney
United States Attorney’s Gftice
615 Chestnut Street, Suite 1250
Philadelphia, PA 19106
john.crutchlow@usdoj.gov

 

Case 2:17-cv-05056-PBT Document 1 Filed 11/09/17 Page 7 of 24

 

l hereby certify that a copy of the foregoing Notice of Removal was served on November 9, 2017,
by First Class United States Mail, postage prepaid, and email upon the following:

Timothy R. Hough, Esq.

Two Penn Center, Suite 1907 1500 JFK Boulevard
Philadelphia, PA 19102

C ounsel for Plaintiij

Shai'on Harvey, Esq.

Connoi', Weber & Oberlies

171 West Lancaster Ave, Suite 100

Paoli, PA 19301

Counsel for Tri-State Pavz'ng & Consz‘rucl‘z`on , Inc.

Laurianne Falcone, Esq. LaTi Spence, Esq.

Marshall, Dennehey, Warner, Coleman, & Goggin
2000 Mai'ket Street, 23rd Floor Philadelphia, PA 19103
Counselfor Gaudioso Consz‘rucz‘z'on, Inc.

%2»¢§

/i’oHN T. cRUTCHLow
Assistant United States Attorney

 

Case 2:17-cv-05056-PBT Document 1 Filed 11/09/17 Page 8 of 24

Exhibit l

Motion to Cornpel

 

  

 

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GAUDIOSO C_ONSTRUCTION, INC., : MAY TBRM, 2016 s@/
TRl-STATE PAVING & :
CONSTRUCTION, INC., TRi-sTATE : NO. 1329
PAviNG & CoNsTRUCTioN ~
oRDER
AND NOW, this ' day of _.. , 2017, upon

consideration ofDefendant, Gaudioso Cor_\struction, Inc.'s Motion to Compel the deposition of
Charmaine Ashby, and any responses thereto, it is hereby ORDERED and DECREED that
Defendant‘s Motion is GRANTED, and Charmaine Ashby shail appear for deposition at the Law

Offices of Marshall Dennehey Wamer Coleman &. Goggin at ~ on

 

,. or risk sanctions upon fin'thei‘ application to the Court and cause

shown.

 

Discovery Deadline: December 4, 2017

Case ]D: 1605013

 

ease 2:17-cv-05056-PBT Documem 1 Filed 11/09/17 Page 10 of `2`4_`_

192\0.03825

MARSHALL DENNEHEY WARNER

COLEMAN & GOGGIN Attorneys for Defendant
By: Laurianne Falcone, Esquire Gaudioso Construction, lnc.

Identification No.: 85764
2000 Market Sn~eet, 23"l Floor
Philadelphia, l-`{A 19103; (215) 575-2715

NAOM.I ALS'I`ON : COURT OF COMMON PLEAS
: PHILADELPHIA COUNTY
VS.
GAUDIOSO CONSTRUCTION, INC., et MAY TERM, 2016
al. : NO. 1329

DEFENDANT, GAUDIOSO CONSTRUCTION, INC.'S MOTION TO COMPEL
CHARMAINE AS]:IBY TO APPEAR FOR DEPOSITION

Defendant, Gaudioso Construction, Inc. (hereinafter, "Moving Defendant"), by and
through its attorneys, Marshall Dennehey Wainei' Coleman & Goggin, hereby requests that this
Honorable Court grant its Motion to Compel Charmaine Ai'shby to appear for deposition, and in

support thereof, avers the following:

1. '-Plaintiff commenced this action via Complaint in the Philadelphia Court of
Common Pleas on May 10, 2016.

2. 111 Plaintiff‘s Complaint, plaintiff alleges that she sustained injuries as a result cfa
trip and fall`which took place at the United States Postal Sei'vice, located at 9925 Bustleton
Avenue, Philadelphia, PA. Among her injiii'ies, Plaintiff claims she missed significant time from
her employment for the United States `Postal Service flJSPS) at the time of this incident

4. Based upon Plaintiffs' discovery respoiises, shortly after the alleged incident,
Plaintiff went to Ms. Ashby, her supervisor at the time of the alleged incident, and then Ms.
Ashby took Plaintiff to the hospital for medical treatment for her injuries related to the incident

in this matter~

 

 

 

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5. Plaintift’s counsel produced an Ot`ficial Supervisor's Report completed by Ms.
Ashby on the date of the alleged incident While Plaintiff‘s Answers to Inten'ogatories state that
she fell on depressed asphalt adjacent to a manhole cover, the Report states that Plaintiff stepped
into a manhole, thereby sustaining an injury to her left foot

6. In the Repoit, Ms. Ashby also indicates that, “Employee’s break was over andl

believe she was rushing." She further indicates "Employee parks in this spot regularly A
combination ofhaste, inattention and newer Reebok sneakers Was the result of this accident."

7. Additionally, Ms. Ashby checked off a box indicating "No" When asked if she
agreed with the version of events of the employee and/or witnesses A copy of the Official
Supei'visor‘s Report is attached hereto as Exhibit "A."

8. Accordingly, on or about October 9, 2017, counsel for Moving Defendant sent
correspondence to David Silverman, Paralegal Specialist at the USPS, advising him why Ms.
Ashby‘s deposition, pursuant to the Touhy regulations is relevant to the instant case. A copy of
defense counsel’s October 9, 2017 correspondence is attached hereto as Exhibit “B."

9. On or about October 10, 2017, Mi'. Silverrnan informed counsel that the USPS

is governed by federal regulations designed "to minimize the disruption of postal operations by
private litigation."

'10. The letter further states that the USPS refuses to produce Ms. Ashby because (l]
the requested testimony is based upon information taken from records contained in a Privacy Act _ ,
system or records that belong to the United States Department of Labor, (“DOL") and not the _ _
USPS; and (2) counsel for Moving Defendant has riot shown “Why the information sought is
unavailable by any other means" or “that no document could be provided and used in lieu of
testimony." A copy of Mr. Silvei'man‘s October 10, 2017 correspondence is attached hereto as

Exhibit "C."

 

' refuses to honor said request because a demand for testimony of a-Unitcd States~Postal employee _. .. . .

 

 

 

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11. With regard to the concern of the USPS to "rninimize the disruption of postal
operations by private liti gation,“ counsel for Moving Defendant Will work together with the
USPS_to arrange for Ms. Ashby's deposition to take place during a time which is most
convenient for Ms. Ashby and which does not affect the operation of postal services.

12. Counsel for Moving Defendant is also willing to proceed with Ms. Ashby's
deposition outside of business hours, such as on a federal holiday, or on a day or during a time
When Ms. Ashby is not working for the USPS.

13. lf it is more convenient to take the deposition at Ms. Ashby's jobsite, counsel Will
make arrangements for same so that Ms. Ashby does not have to travel to a law office

14. Additionally, Ms. Ashby can Wear her work uniform to the deposition in an effort
to further minimize any potential disruption of the postal operations

15.. `|With regard to USPS's contention that the requested testimony is based upon
information taken from records contained in a Privacy Act system or records that belong to the
United States Depaxtrnent ot` Labor ("DOL") and not the USPS, counsel for Moving Defendant is
not using Ms. Ashby's deposition as a fishing expedition
" " "' " ' " 16. a To quite the contrary, Plaintift‘s counsel produced the Ofticial Supervisor‘s Report
completed by Ms. Ashby and the content of that report and the information that Ms. Aslrby has
regarding the incident falls squarely within the scope of what is permitted under Pennsylvania
Rule of Civil Proccdure 4003.l .

17. Counsel for Moving Defendant should not be confined to the four corners of her
Repor't.

18. Counsel should be afforded the opportunity to further explore the circumstances
surrounding the alleged incident, as witnessed by Ms. Ashby, and her testimony is not only

relevant, but critical to the subject matter involved in the pending action.

 

 

 

 

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19. If the USPS is concerned that Ms. Ashby's testimony will infringe upon
information contained in a Privacy Act system or records that belong to the DOL, counsel for
those respective agencies can attend Ms. Ashby's deposition so as to assure that protected
information unrelated to the instant case is not disclosed during her deposition

. 20. While the USPS contends that counsel for Moving Det'endant has not shown
“Why the infoirhation sought is unavailable by any other means" or "that no document could be
provided and used in lieu of testimony," surely, the Report cornpleted by Ms. Ashby is not
suHicient and there is no more convenient source to obtain information pertaining to the report
that she;personally prepared and the facts related to the alleged incident, other than to take her
deposition

21. For the reasons specifically set forth above, Charmaine Ashby‘s deposition is

crucial and necessary for counsel Moving Defendant to properly evaluate the claims in this
lawsuit

22.. The refusal of the USPS to produce her for deposition prejudices Moving

Det`endant and their ability to prepare a defense in this case.

WHEREFORE, Defendant, Gaudioso Construction, Inc,, respectfully requests that this

Honorable Count enter an Order in the form attached hereto compelling Charmaine Ashby to

appear for deposition or risk sanctions

MARSHALL DENNEHEY WARNER

COLEMAN & GOGGIN

By: Ls/ £aurim'me falcone
LAURIANNE FALCONE
Attorneys for Defendant

Date: ]G} 271 57 n Gaudioso Ccnstruction, Inc.

1

 

 

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EXHIBIT "A"'

 

 

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l`.e-%"' c:..v~¢`>, <'>Q<' o:.&\i\. \~¢'té.><& 0 §\;,,oec€fée.¢~ \s`_v»\:e,\f

  
 
 

 

 

 

 

   

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"3
14. Naluna nflnlury (ldenllfy both the injury and the part of body, e.g.. fracture-nl left log)

.;, ‘ . ' x: :~~:

15. l certify. linder penalty nflaw. that the lnjury described above was suslalned ln performance el duly as an employee of the
_ Unllerl Slntes G emmanl and lhallt was not caused by my wl|llul misconduct intent to ln}ure myself or anolher person, norby
my lnloxlca . l hereby clalm medlcal lrealmenl, ll needecl,_and the lollowlng, as checked balow. while disabled for work:

 

     

. Cenllnualion ol_regular pay (COP) nol lo exceed 45 days and compensollon.for wage loss ll' dlsablll!y lorwurk conllnuas
beyond 45 days. ll` my claim ls denled, l undersland that the nonllnuatlun of my regular pay shall be charged to slck
or annual leave. or be deemed an overpayment wllllln lhe meanlng ol5 USC 5554.

g b. Slclt and/or Annual Leave

l hereby authorize any physlelan urhnsplla| for any olherperson. lnslltutlon. oorporatlan. orgovamrnanl agency lo furnish any
desired lnfarmallon tothe.Ll.S. Deparlmanl nfl.abor, Ofllce ol’Workers‘ Cumper\satlon‘Progr nrlol ofllcla represenlsllve).

'mls eulhorlzallon also permits any oliclal represen¢allve ofthe 0 o examlne and lo co y naming me. 9 / ((/
/
lam/o m o% “
V ..

Any person who knowlngly makes any false statement mlarepresenlryon. concealment midst or any other act of fradd lo nblaln compensallon
as provided by the FEGA urwhn knowingly accepts compensellon to which that person ls nol enllllad ls subject to elvll oradmlnlslrallve
remedles as wall as felony crlmlnsl prcsecullon and may. under appropriate crimlnal provisions be punlshad by a line or lmprlsonmenl or bnlh.

  
  

Slgnal.ure of employee or person actlng on~hlslher behalf'~

 

l-lave yoursupurvlsor complete the roculptattaohcd to mls form and return lt to you for your reoords.
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16. Slalement ofwllnass (Descrlbe what you saw. heard or know about thls ln§ury)

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Rov. Apt. 1899

 

 

 

 

 

 

 

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. Dfiicidi supervisor‘s Regort: Please complete information requested below:

 

 

 

 

 

 

 

 

 

 

 

 

LE»‘t.q:rerr.'isr>r‘s Raport ~ ' l
17. Agency name and address of reporting ofilc=e (include street address, cily. stale. and Z|P code] DWCP Agency Code
$ales RetenlionTeam. Buslteton Statlon
9925 Buetialori Ava
OSHA Slte Code
Glty 0 ZiP Code
Philadelphia 19115
18. Employee‘s duty station (inolude street addrese. clty, state and ZlP code) City ZtP Code
9925 Bustlelon Ave Phlla '
19 Ernployea‘s retirement coverage L__| OSRS l:] FERS [:l Othar, Gdenttfy)
20. Reg:iiar F l:| e.m. T l:] a.m. 21. Ra uiar 121 W - h d
wo rom: or wo Sun. Mon. 'l'ues. ed. J T urs. ./ F . Sai.
hours l:] l>.m- - l:| r.m. schedule § g m l m
22. Date of injury 23. Date notice received 24. Dete stopped work m a,m_
ivro. Day Yr. Mo. Day \’r. » Mo. Day Yr. Tlme: 16.00
agree/2044 oerzerzoi¢i 9126r2014 . p-m'
25. Date pay stopped 26. Date 45 day period began 27. Date returned to work '- m a,m
Mo. Dey Yr. . Mo. Day Yr. Mo. Day Yr. Tlme:
emerzom 9125)2014 .p.m-

 

 

28. Was employee injured in performance or dutv? Yes l:] No {ii“No.“ expialn)

At apprbx. 11:10 employee was going to her car end stepped into a manhole and aprained her leftr foot

28. Was injury caused by empioyee‘s willful misconduct lntoxlcalion. cr intent to ln]ure self or enothe(? yes (lf "Yes," expiain) l:l No
Employee‘s break was over and l believe she was rushing `

30. Was rotary caused by tvlrd pariy'r 31. blame and address ot third party (lnclude street address, city. state, and ZIP oode)

 

 

 

 

' t\!o (lf "t~to." 90 Clr, ZlP Code
m Yes m to item 32.) y
32. Neme and address rat-physician tirst providing medical care llnclurle sireetaddraas. city. stale. ZlP code) 33. Flrstdate medical M°- pay Y¢~
Aria l~iealttr ofTorresdale R'ed Llon & Knlghts Rd, Phlia., PA 191'i4 Dr Jonalhan Schwerdon care received 9/2‘5{2014
Guy . z]p code 34.90 medl¢al reports
snow employee rs -Yes l:l No
Philadelphia lam drsabrauro: world

 

 

 

35. Does your knowledge oithe facts about this injury agree with statements of the employee andlorwitnesses? [:1 Yea No (lf "No.“ explain}
Ernployee parks in this spot regularty. A combination of hasio. inattention and newer reebcl< speakers was the result oi'~tlrls accident

36. little employing agency contreverts condonation oipay. state the reason in detail 37~ Pai' fate WhB" employee SIOPPBd W°il<
The employee was on Breal< and not paying attention'to where she was going, _ Per
wm of supervisor'and Fiiing instructions .

ae. A supervisor who knowingly oertttiee le any false statement misrepresentation concealment oi iacl, oto. in respect 01 this claim may also be
subject to appropriate felony criminal prosecutiion. '

l certify that the information given above and that furnished by the employee on the reverse of this form ia true to the best of-rny knowledge
with the following exception:

blame ot supervisor ('iype cr print)

__ .______ ~_~ ___ ___Chahnalne Q. Ashby

 

1

 

 

 

Slgnalure f uporvisor Date
w *°*"“°”"°' 0 G>A% ‘ ' emc/zant .
Supervlsor‘s Tltle ' " " ` ` ' ` Oitioc phone
Sales Retention Team, Supervlsor (26'1) 348-3744
' 39. Flllng instructions D No loal.tlme and no medical expanse: Plaoe this form in employee's medical folder (SF-GG-D)

l:] No lost tlml. medical expense incurred or expected: forward this form tc OWGP
Losi time covered by leave, LWOP, cr CQP: forward this form to OWCP
[] menard injury

 

Form GA-'l
Revlsed January 2013

 

 

 

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The FEGA. which is administered by the Oifloe ofWoricore'
compensation Programs {OWCP). provides the iollowlng
benefits lor}ob~relaiod traumaticln]urles:

(1) Gonllnuetlort of my lor disability resulting from tmumolir:,
job-related lniory, natta exceed 46 calendar daye. (Tobe
eligible for continuation of pay. the empioyeo. or someone
acting on his/heroohalf. must lite Form GA~t within 80 days
following the lrgory and provide medical evidence in support
of disability within 10 days of submission of the CA"l. Wltero
the employing agency conlinuo's the employees pey.tl'te pay
musl.not bo lniern)pted unless one of the provisions outlined
inzo CFR‘lti.zzz opply.

(2) Peyment of compensation lorwnge tose after the expiration
of CQP. ii disability extends beyond such point, orlf COP is not
payable ii disability continues after COP expires. i=orm CA-?,
with supporting medical evidence. must be illoci with OWCP.
`l'o avoid intenuptlon of lncorne. tile form should be nled on lite
401h day of the ODP period.

 

 

(4) Vooetiona| rehabilitation and related services where

directed by OWCP.

(5) Ali necessary medical care from qualified medical providers.

The injured employee may choose the physician who provides
initial medical care. Generoliy. 25 miles from the place ot

'rniury, piece ot employment, or employoe‘s home is e reasonable
distance to travel ior medical coro.

en employee may usa sick or annual leave rathe'l titan LWOP
while disabled. The employee may repurchase leave used

lar approved pariocls. Form CA-?n. available from the
personnel ollioe. should ho studied BEFORE a decision

is made_ to use leeve,

For additional lnfonnallon, review the regulations governing

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the administration of lite FECA (Cnde of Fedaral Regulallons.

(3) payment of compensation for permanent impairment of chapter m mm 1 01 or pamphlet CA_B 10b

certain organs, meml:iera, or functions ofihe body (such as
loss orloss of use alan arm or ltldney. loss otvislorr. eic.}.
orfor serious delongarnentol lite heed, face, ornock.

 

 

   

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in accordance with the Privacy Act of 19?4\ ve amended (5 u.S.C. 5529), you are hereby notified titan lt) The Faoerol Employeos'
Gornpen$ollon hull as amended and extended te u.S.c, 8101, et seq.) (FECA) to administered by the Oifico ot Worlrers‘ Oomponsotton
Programs or tire U.S. Dopartment ol l.obor. which receives end maintains personal information on claimants and their immediate families. (2)
lntormetlon which the Ofitoe has will he used to determine eligibility for and the amount oi' benefits payable under the FECA, and may be
vertfrod through computer matches or other appropriate moans. t3) information may be given to the Fedorai agency which employed fha
claimant et the time oi injury tn order to verin statements made. answer questions ooncemlng the status ot the claim, verify oilllng. and to
consider issues relating to retention. rehlro, or other relevant maliers. (4) information may also be given to other t=edara.l agencies. other
government onliiios, and lo private-sector agencies and/or employers cs part of rehabilitative and other retum-to~work programs and aenncos.
(5) information may ve disclosed to physicians and other health mm providers for use in providing treatment or medicalivorztlonat
rehabilitation making evaluallons for the Otilce. and for other purposes related to the medical management of the olalm. {6) information may be
given to Federal. state and local agencies for law enforcement purposos. to obtain information relevant to a decision under lite FECA. to
determine whether benefits ore doing paid proporiy. including whether prohibited dual payments ore being mado, encl. where appropriate to
pursue salary/administrative offset and debt collection actions required or permitted by the FEOA end/or the Dobt Colleolion Acl. (7)
Disoiosure ot the claimants social security number (sSN} ortex wantinan number (Tll\l} on this form le mendoiory. The SSN and!or TiNi. end
other information maintained by the Oitlm. may be used for ldentllicatlon, to support debt collection efforts carried on by the Fedorai
govemrnent, and for other purposes required or authorized by iaw. tel Feilure to disclose all requested lnfonnatlnn may delay the processing
of the claim or the payment ol benento. or may resultln an unfavorable decision or reduced level of beneflle.

Noio: Thls notion applies to cit forma requesting information that you might receive from tito Otlioo in connection with tile
processing end adjudication of the elaimyou filed under the FECA.

 

 

      
  

  

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Rev. Anr. 1999

 

 

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EXHIBIT "B'.'

 

 

 

 

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Schuinick, Courtney B.

From: Sohulnicl<, Courtney B. iCBSchulnict<@l\/iDWCG.com]
Sent: l\/ionday, October 09, 2017 12217 PNi `
Tc: Silverman, David D - Philadelphia, F'A

Cc: Falcone, Laurianne

Subject: RE: Alston case

Hi David,

Thank you for your letter of October 2“ll and the CD containing a copy of Ms. Aiston‘s personnel folder.

We would like to. take the deposition of Charmaine Ashby, an employee at the Post Office, in connection with the above
matter. Accoroiing to the mandate set forth by the Touhy case, l am requesting that we be permitted to proceed with
her deposition i-ier testimony is relevant to the case because pursuant to piaintifi's discovery responses, she claims that
after the alleged incident on 9/26/14, she informed her supervisor, i\/is. Ashby, of the incident and Ms. Ashby then took
plaintiff to the hospital.

Wouid you kindly advise of whether you can assist us in this regard?

Thanl<s so much.

 

MARSHAL-L DRNN EH E.Y
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Courtney B. Schutnick 2°°°~*3'1‘€18\.

state 2300
Attorney atLarv Pmradaipnra. PA 19103
B r §-mall | webeite ilireot: (215) 57$2823

 

iviain: {215) 575-2600
Fax. (215) 575.0856

 

 

 

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and/or work product doctrine if you are not the intended recipient ora person responsible for delivering n to the intended recipient you are hereby nouned mar
any review. disclosure copying. dissemination distribution or use of any of the information contained in. or attached to this o»mail transmission is STRlCTLY
PROH|B\TED. ii you have received this transmission in error, please immediately notify me by forwarding this e-mait to cBSchurnrdr@t\/loyyca.cnm . or by
telephone at (215) 575-2823 and than delete the message and its qttaohr_r_rents from your_comput_er.' _ __ _ ' _ _ _
Fr'nm: Silverman, David D - Philadelphia, PA [mai|to:Davicl.D.Silverman@usps.gov}
Sent:: Monday, October 02, 2017 10;52 AM

To: Schulnici<, Courtney B.

Subject: FW: Alston else

Dear Ms. Sohulrticlt,
l am in receipt of your emaii addres§ed to our Deputy Managing Counse|, Jermifer Breslin.

itiiy correspondence to ivis._ Spence and the taxed confirmation regarding her receipt thereof
is attached for your convenient reference. v _. _ ._ _ , _ __ _____ _ _ .. .
` 1

 

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_iEXHIBIT "C"

 

 

 

 

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Posn.it service
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3970 S. YOTH STREET
PHlLADELPHlA, PA 19153 .
TELEPHONE: (215} 351-3850 FAX: (215) 351~385‘i
r-'AX TRANSM|TTAL covER SHE§I
DATE: October ’iO, 2017 TOTAL PAGES: 2 _ + CCVER SHEET

 

 

TO: Courtney B. Schuinick, Esquire {FAX No. 215-5?5-0856)
ORGANIZAT|ON: lliiarshali, Dennehey, Warnet‘, Coleman & Goggin
FROM: David D_. Siiverman, Paraiegal Soeoioiiet

ORGAN|ZAT[ONZ LAW DEEARTNIENT - PHILADELPHIA FlELD OFF|CE
TELEPHONE NUMBER: LS4514822

lF YOU HAVE NO`T RECEIVED ALL. OF THESE PAGES, PLEASE CONTACT ME
AND SEND SPEC|AL lNSTRUGTlONS:

 

CONF|DENT|AL!TY NOTICE
OFFlClAL GOVERNMENT BUS|NES'§

This communication is intended for the sole use of the individual or entity to
which it is addressed and may contain information that is privileged ooniidentlai.
and exempt from disclosure under applicable iaw. litho reader of this
communication to not the intended rerc-,ii:iir-:ntl you era hereby notified that any
diésaminatlon, distribution or copying of this communication may be stnotiy
prohibited if you have received this communication in error. please notify me
immediately by telephone <':erill and return the communication io' me at the
address above via United States Postai Sen)ioe.

 

 

Thenk you.

 

 

 

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PAGE 93

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Basod upon what you have submitted in your omail of October 9, 2017, the United
Stasz Postal Service is not willing to produce Ms. Aiston’s prior Postal Service supervisor.
Charmaine Ashby. for deposition Firstl the requested testimony is based upon information
taken from records ,oontaineti in a Privaoy Act system of records that belongs to the United
Statos Departmont of Labor (“.D@L”} and not the United Statos Postal Servioe; senond, you
have not shoum “why the ini`onnetiou sought is unavailable by any other moans” or ‘thut no
document could bo provided and iusec'i in lieu of testimony.” See 39 <Z.F.R. § 265.12(¢)(2)@5)
& (iii); see also 39 C.F.R. § 265.12(d)(4) (“[A]t the General Counsei’s discretion, testimony
may be provided by affidavits answers to iuterrogatoties, [or] written depositions . . . .”).

Tito United States Postul Service is unable to produce documents relating to Ms.
Aiston’s worker’s compensation proceeding oven with her written consent Worker’s
compensation records of federal employees belong exclusively to the DOL, Offioe of
Wor!<ers‘ Componsation Progrum,s, and only the DOL may release those records and consent

~ to the release of information contained in those tooords.

The United Statos I>ostal Service is principally charged by Con gross with providing
tm,ivorsal, affordable mail delivery servioo. It has substantially limited resources and the
Touhy regulations are designed to,ensure that those resources are not burdened any more than
necessary. in the discretion of the §Generai Couusel or his delegato. You have not shown that
tile testimony sought is unavailable by any other mouns;

Based upon the foregoing,you have not fully complied with the Touhy regulations
and the United States Postai Sorviee is unable to comply with or fully consider your request
until such time as you have fully complied with those regu.lations, and established that the
requested testimony has been consented to by the DOL or does not involve matters contained
in the DOL OWCP system of recoi'ds.

Please direct any further ucrrespoudenco tegarding this matter directly to the
attention of the undlersign ed only.

 

Rcspectf`ully,

.Davlci D. Silvermun

Paraiogai Spociaiisf

PH: (215) 351-3822 (direc,t}
Fax: (215)351~3851
David.Q.Silvennag@gsg§_.ggy_

 

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